                         Case 8:18-bk-10180-CPM             Doc 17      Filed 01/22/19      Page 1 of 1
                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA


                                          PRO MEMO

                                                                01/22/2019 01:30 PM
                                                                COURTROOM 8B
HONORABLE CATHERINE MCEWEN
CASE NUMBER:                                                    FILING DATE:
8:18-bk-10180-CPM                         13                       11/28/2018
Chapter 13
DEBTOR:                Bonnie Griesheimer


DEBTOR ATTY:           NA
TRUSTEE:               Jon Waage
HEARING:
ORDER TO SHOW CAUSE TO DEBTOR TO CONSIDER DISMISSAL OR CONVERSION OF CASE (doc 12)
Notes:
In instant case, Debtor has not cured deficiencies and owed $210 in filing fee. Debtor also failed to attend meeting of creditors
Case No. 18-4224, Ch.13, Dismissed 06/12/2018 for Failure to File Information; $210 of filing fee due
Case No. 18-07025, Ch.13, Dismissed 09/11/2018 for Failure to File Information; $210 of filing fee due
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APPEARANCES::
NO AAPPEARANCES:..

RULING:
ORDER TO SHOW CAUSE TO DEBTOR TO CONSIDER DISMISSAL OR CONVERSION OF CASE (doc 12).. CASE
DISMISSED WITH PREJUDICE FOR 2 YEARS; NO STAY AS TO THIS PROPERTY; STATE COURT CLERKS AND JUDGES
MAY DISREGARD...CHAMBERS ORDER...


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Proposed Orders, if applicable, should be submitted within three days after the date of the hearing - Local Rule 9072-1(c). Orders
not submitted by the time of closing will result in motions/objections/applications being denied as moot. This docket
entry/document is not an official order of the Court.




                                  Case Number 8:18-bk-10180-CPM                       Chapter 13
